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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
AUBURN DIVISION


MICHELLE NICHOLS                    )                             5:10-CV-1418
                                                        Case No. _____________________
                                    )                              (GTS/DEP)
                  Plaintiff,        )
                                    )
      vs.                           )                           COMPLAINT
                                    )
CAWLEY & BERGMANN, LLP              )                           Jury Trial Demanded
                                    )
                  Defendant.        )
____________________________________)

                                  NATURE OF ACTION

        1.      This is an action brought under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq.

                              JURISDICTION AND VENUE

        2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1331.

        3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where

the acts and transactions giving rise to Plaintiff’s action occurred in this district, (where

Plaintiff resides in this district), and/or where Defendant transacts business in this district.

                                          PARTIES

        4.      Plaintiff, Michelle Nichols (“Plaintiff”), is a natural person who at all

relevant times resided in the State of New York, County of Onondaga, and City of

Syracuse.

        5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        6.      Defendant, Cawley & Bergmann, LLP (“Defendant”) is an entity who at

all relevant times was engaged, by use of the mails and telephone, in the business of
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attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

       7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                              FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt

owed or due, or asserted to be owed or due a creditor other than Defendant.

       9.      Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be

owed or due a creditor other than Defendant, arises from a transaction in which the

money, property, insurance, or services that are the subject of the transaction were

incurred primarily for personal, family, or household purposes. Plaintiff incurred the

obligation, or alleged obligation, owed or due, or asserted to be owed or due a creditor

other than Defendant.

       10.     Defendant uses instrumentalities of interstate commerce or the mails in a

business the principal purpose of which is the collection of any debts, and/or regularly

collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be

owed or due another.

       11.     Defendant, via its agent and/or employee “Mr. Johnson” left a voicemail

on Plaintiff’s cellular telephone on September 17, 2010 @ 8:50 A.M. and at such time,

failed to disclose that the communication was from a debt collector. (15 U.S.C. §

1692e(11)).

       12.     Defendant, via its agent and/or employee “Mr. Johnson” left a voicemail

on Plaintiff’s cellular telephone on September 17, 2010 @ 8:50 A.M. and at such time,

stated that the communication was from "the Cawley Bergman law office," when in fact

Defendant's true corporate and/or business name is "Bronson, Cawley & Bergman, LLP."

(15 U.S.C. §§ 1692d(6), 1692e(14)).
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          13.      Defendant, via its agent and/or employee “Mr. Johnson” left a voicemail

on Plaintiff’s cellular telephone on September 17, 2010 @ 8:50 A.M. and at such time,

stated to Plaintiff that he was calling from a law office, and that the call was in reference

to a case number, with the intent of misleading Plaintiff and causing Plaintiff to believe

that litigation had been initiated against her. (15 U.S.C. §§ 1692e(2)(A), 1692e(10)).

          14.      Defendant sent Plaintiff written correspondence      dated September 17,

2010 in which Defendant stated "[p]lease note that no attorney with our firm has

personally reviewed the particular circumstances of your account."

          15.      Despite this disclaimer, the correspondence was placed upon Defendant's

law firm letterhead and signed by attorney Jonathan P. Cawley, Esq., thus

misrepresenting the level of meaningful attorney involvement in the collections process.

(15 U.S.C. Falsely representing the level of attorney involvement in the collections

process. (15 U.S.C. §§ 1692e(3), 1692e(10)).

          16.      Defendant’s actions constitute conduct highly offensive to a reasonable

person.

                                           COUNT I

          17.      Plaintiff repeats and re-alleges each and every allegation contained above.

          18.      Defendant violated the FDCPA as detailed above.

          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                a) Adjudging that Defendant violated the FDCPA;

                b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in

                   the amount of $1,000.00;

                c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

                d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
                                                                                    Complaint
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           action;

        e) Awarding Plaintiff any pre-judgment and post-judgment interest as may

           be allowed under the law;

        f) Awarding such other and further relief as the Court may deem just and

           proper.

                                TRIAL BY JURY

  19.      Plaintiff is entitled to and hereby demands a trial by jury.

                                          This 23rd day of November, 2010.

                                          ATTORNEYS FOR PLAINTIFF
                                          Michelle Nichols

                                          Respectfully submitted,

                                          s/Dennis R. Kurz
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